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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

  ELNORA CARTHAN, et al.,
                                  Plaintiffs,

        v.                                       Case No. 5:16-cv-10444-JEL-EAS

  RICK SNYDER, et al.,                        Hon. Judith E. Levy
                                  Defendants. Mag. Judge Elizabeth A. Stafford

 __________________________________________________________________

     STIPULATION REGARDING SCHEDULING ORDER FOR CLASS
                       ACTION TRIAL

       Defendants, Veolia Water North America Operating Services, LLC, Veolia

 North America, Inc., and Veolia North America, LLC (the “VNA Defendants”),

 Leo A. Daly Company; Lockwood Andrews & Newnam, P.C.; and Lockwood

 Andrews & Newnam, Inc. (the “LAN Defendants”) and Class Plaintiffs hereby

 stipulate and agree to extend certain pre-trial deadlines in the Scheduling Order for

 Class Action Trial (ECF No. 2172) as reflected in the attached Exhibit A.

       Pursuant to ECF Rule 11(c), the VNA Defendants, LAN Defendants, and Co-

 Lead Counsel for Plaintiffs request that a text-only order be entered granting this

 extension of time.

 Dated: August 2, 2022
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                             Respectfully submitted,

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 /s/ Michael Pitt                          /s/ Theodore Leopold
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                           Exhibit A
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  Event                                  Deadline/ Date       REVISED
                                         Range                Deadline/Date
                                                              Range
  Completion of any Remaining            June 10, 2022 to     August 9, 2022 to
  Merits Discovery                       August 26, 2022      October 25, 2022
  Plaintiffs’ Expert Reports +           September 9, 2022 November 8, 2022
  Complete Disclosures
  Plaintiffs’ Expert Depositions         September 23,        November 22, 2022 to
  (shall be limited to only those        2022 to October      December 20, 2022
  experts for whom the parties           21,
  submit new or additional reports)      2022
  Defendants’ Expert Reports +           November 23,         January 22, 2023
  Complete Disclosures                   2022
  Plaintiffs’ Reply Expert Reports      December 9, 2022      February 7, 2023
  Defendants’ Reply Expert Reports      December 22, 2022     February 22, 2023
  Defendants’ Expert Depositions        January 9, 2023       March 10, 2023 to
  (shall be limited only to those       to January 31,        April 1, 2023
  experts for whom the parties          2023
  submit new or additional reports)
  Reply Expert Report Depositions       January 31, 2023 April 1, 2023 to April
                                        to February 7,    8, 2023
                                        2023
  Daubert and Summary Judgment          February 24, 2023 April 25, 2023
  Motions—Opening Briefs
  Daubert and Summary Judgment           March 31, 2023       May 30, 2023
  Response Briefs
  Daubert and Summary Judgment           April 14, 2023       June 13, 2023
  Reply Briefs
  Motions in Limine—Opening              August 14, 2023
  Briefs
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  Deadline for parties to submit         TBD
  joint proposed jury questionnaire
  to the Court and hearing
  Deadline for Parties to send 250       TBD
  copies of Juror Questionnaires to
  Judge Levy’s Chambers in Ann
  Arbor, Michigan
  Plaintiffs to Submit to Defendants     August 18, 2023
  Draft Joint Pretrial Order
  (includes witness list and exhibit
  list)
  Jurors Summoned in Court to            TBD
  Answer Questionnaires
  Hearing Regarding Excusals             TBD
  Based on Jury Questionnaire
  Responses
  Motions in Limine Response             August 28, 2023
  Briefs
  Motions in Limine Reply Briefs        September 6,
                                        2023
  Oral Argument on Daubert              TBD
  Motions
  Defendants to Submit to Plaintiffs     September 1,
  Draft Joint Pretrial Order             2023
  (includes witness list and exhibit
  list) and engage in meet and
  confer
  Oral Argument on Summary               TBD
  Judgment Motions
  Oral Argument on Motions in            TBD
  Limine
  Deposition Designations (due for       TBD
  exchange between parties)
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   Parties to submit Voir Dire           September 11,
   Questions, Proposed Preliminary       2023
   Jury Instructions
   Parties to submit Joint Final         September 15,
   Pretrial Order                        2023
   Objections to Deposition              TBD
   Designations and Counter-
   Designations (due for exchange
   between parties)
   Deadline for Submitting               TBD
   Deposition Designations Matrices
   and Highlighted Transcripts to
   the Court
   Deadline for Court to Inform Jury     TBD
   Department of Excusals Based on
   Questionnaires
   Final Pretrial Conference,            September 25,
   hearing on motions in limine          2023 10:30 am
   Hearing Regarding Misc. Pretrial      October 2, 2023
   Matters (if needed)                   10:30 am
   First Day of Trial/Voir Dire          October 3, 2023
